           Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 1 of 28 PageID: 18



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 3 of 28 PageID: 20



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 6 of 28 PageID: 23



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 13 of 28 PageID: 30



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 16 of 28 PageID: 33



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 17 of 28 PageID: 34



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 18 of 28 PageID: 35



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 20 of 28 PageID: 37



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Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 21 of 28 PageID: 38



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  ;4 ff!i.>on can/Jcf 1n1..ur -!ht loss of /;berlj hr ti cr"n,no./ otfer75&
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 t'fjt1rcflr.55 of ho,v ftJ.sf- l;t dr:;rL ( 1n c1 f>ol1c~ cc1r tv1,f?
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   (,{Lui prJi-1-ory ev1d{fi{l fro/n Dii.!!J pres(}nfed; prflrenled
  -1/re.,, c!ehndafJf lrorn c'5hoiV1fj -lciv:.,1ri1ible evlclErJ{-l Ju '~"l'ff!c.'i
  h1:::i d1/r().5l 1 and -ll1t1S cornrn,fs ao acf- of fr0s.5ccufor,a./ rn1.5-
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  Condt!Lf II) -iht                  +he. r..on,sp1rt1cy +o to!Y)1Y11'f-
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  r5,,0-l-af!'7  --lhc,I cJ1r)'e, s.pcc___;/;c4//j coof-erdl-1017 or~reerned
   btfWcfl7 -f/7-e dr/e17c/a/Jf- CJt7cl /iJr. l:1nd1~/, . 1!tJd 15 tonh--ad--
  1 l for/   -ft; !YJr. /(endr1L/...5 _ -fe,5/-11vJvn y. 7/;e_ J; o. ff S -lheor j of

 cf/)e cast -1-ho!!Jh conslc1r;lly ChtJ,f!J ':) or 3row,:) wa5 -J/u1I
  d;i/enda(}f 0nol f(}r._Lcve.. 1n resf'o17sc +o n_jec,/c,u-5 ''/]~
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 .h,:s Jirlh'1e()d,. I I t1/C au,epl- --IIJcil -lfuory Tnt!n -1/Je frf€f'
   c/JCi[jl 0/Jculd f)rJiVL beer) 11,J~51on/ fro 1vtol,on /!Jar1-slou_y/;f<:r
  nu-I- fY7urdt,1 afld :3/Jort5 -I-he lcicl-fhnl -lhe__Jurj al9u1f/,/
  d 2fr/) dafJ f of -1-h t !YJ1/r dtr ar; ol -fh e (!,j r f lf7 -                    °'
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  .jlr7e._r·o./ c./cum.s of errcr. +,r,5-f- 1 f''--+,f,oner 1no-.,n+o.iris -;he_
 .. C"L'rl- crre_d 1J...Jhen ,f cl,c/ ncT "-fflj -lf,e., fn17c;,p/25 (~im$J;d<At:1ei,)
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   bo/5fe, +hL cre.d,b,/,-1-j of fYJr Aendr1~r.. ar1cl J0mes fllller
  :-1h~ r.j'/o.le~S J/.0tr                   t,,;,/-n2S,5f:7            e,/cn +htif!Jh 1-I- t1vt1S cr,fnru1,
  f 1-rorrJ -leohtYJonj -fhtJ,f -Ml laoi- peroon -le hc,VL f< 0.ScsS1on                                   1



  o( -fh.e_ (Y)urcler /VtCifOn rva5 ((Jr f..~ndnc/i. 1 -lhus ren r;/1r1J
  cro.5.5- CJ(f ((), Oct l-1 on pr?JJ(_j; l, C1 I b 1 --1-li l (} en - cl s(lo 5 c'rf__ tJ !
  ;17 va1.lim ~n-1- €v:dct1cl-1- Thrd1 pef1honer +rn1-lfs --fhe coerf hr
  c/£e_f'f1,'j -1/u             UJ,0scl0ed e/,:,dcnc(,.                 ,,r,,r111f-tnct! fc          -1--h-e_   ,Jur-; ~s
 _eoSCSS1YHnf              of cre..d,b1llj 1 /A,rhere__ f:,s-Se,:;-'.)JOn of-/-/;(, wc:'('i)n
 .1J1;i_5       -fhL f,{Crr...f- f;i!tdtnce USec/ llS LI f1()(f} ·t1A/ ct +fu. tnjavn~n
  ({l5c         V10/o,l,,:J ptt,+ronrr's d,,1z frDcess ;~:3hf5 Clnc/                                          r1_3hf frJ         o
  --l---r10,/   .(,4,)         7ht lack of £vii d,11(AS1XL
  ;L17 l:Jf cf ev,dencc                 +h-e_ rcccrd, +here__ :::,hcu!cl bl t7o 9ce0l-1on .
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       ,1bouf- -/he h,c,.f -/!,Cl/- -/he jY0-5ecvJor:s pl1,f&SeJ/ _m1o!ed -!i1l- covrt
      /(/ (:Jard5 fo -1/Je /'()(!iff ( I~ fr fj {jffOS'3 P55iOn /)f +hf tJU'-()00 C:11 c/ -f/,1', f-
  -/Jp     ,5)1,1/e l'Ji?o al.,)art -lh21e, i\Jt15 fJC                   !eyed bc015 -hr -1-h-t- lot1f>1,tiLj
  (hC/yt         01!7tr        +nan   J/Jr   lalr   1/       i\Jtf::;   StJmefh19         -/-!Jet co1;Jcl         Un5frnJ
      fo   (onv'11_,f      c/ehndanf, /(}tJ('fOv €r; -/r/qf #Jc frc.SCc~,for
                                                         1
                                                                                                       f.fli'1V1'/_J/f
      ,'(],:;led -I-he covrl- as fo -/In !fit1ler1·tj,'Jj of ffie                         1ue.1co5 fv5St5)tcn
       r,r-1-vC<.lff compels -1/u__ ( onc_/1/S1on -1-hCt./-- !/J-e cuvrf                  U()rec,:;Mtthl<j d,htn,()ed
Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 23 of 28 PageID: 40



   +hCif +he.. pro0e(uf1on /)c,c/ aderual-ely d1sc.lo~ed +he, .(d-e")f-
   ~c wh,c.h +he.. erroneot/sly pre,senfed 1n./orrno..fnn hv.cl /Jo!sferecl
  c-!ht J/~l-e:.S case.. 1n ,JCcur:) an ,nciit-fmu1 f-: Th-t... 17.;17 - c/,5,//).s1.//L
   of whu_/J re,1de:icl .j../7e, proceed,,119s (o,d, ar1d tvholly unfcill'-
  (15 -!he. effecf 15 clearly /Y',e;l!dir_,al f0 ;nl-, l1ane, 6ecal/.5t a.;:
   11-.) /JfDh0;f!l'e_, u't,/1/e., and -fhv.f i/ t.Va-.S lllu/pl1lcr'/ 0,,-,d
    cr!.fico.l -ft: pefrho11er's defenst, v,o/al-ed due_ proLBSS I CJ()c/
   r,;,,1~ed uvhci/ ttJC/0 Ct prrJcedur0! e,-ror -1-o +hc,f 01 a
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  12-'Si t:., ,s clear, When O.flj munber of -f/;-e_ po:uccuhrs --1-earYJ/;as
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   inc/,1,;'1clv1il f:cjccc'lor her.s o. dv/.7 +-a /eqrn of C117j h.v, ra_b/e..          1



 . 21,~d-t'nce XrJoV.//'J fo --IIJ.e_ of.hers ar_l-;'?j on -M-t.... Gover!V1e!'7f-j 6eJaJI
   Ir) -#Jt. Ca5l 1 ;(]C/U1,inr -tfl tc/n,l 11) / fho/c/(l_J -Jhaf 1vhe.+her 17or7-
  d,5L./(}5Lf([_ ff.SL 1/hs from t1!f3enLe_ or de,S:_Jn 1 #?e.. f'ro5e,Lk fc,- ,s
 . ft,Spon-S,blL). If} +he_ case.- 0,,1b J . . ,d,r...e_, t\/, -fh,n um;;lc. -l-11nl..
 .+o   l\./,fhdn1v\J c~//        chaa~.s -Hlt.ffll5lc..vfcr !fnc,1,'l'!J/'I ~/lotv{d ba-1/;
  '--;fqr £,,ffl1f,55e~c, -lo prov'rdL q c'rJf,l1e., hil./LI{{/ ba01S +o
   ,)u~::,/-c1n-l- eJe..- -/he., Ccn..<:f11til/ C/7(l!)t5 ,ji1nt/l lor -i/Je_ ~Vl'j>o.Se....
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   of Lonv'1c.f113 defenc16n1 Oi7d l,eJ' f, ,n,2-J .elunefilo fre5enfec/
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  c1nd -fo d,om,&;:, -1/Je Cc/of. ;:irJ,'V7 -!-c /Je... /Jl7,s, cl Of! f''1[jc1r,d l-eV1/YJo,1 ,
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 ,SeueJlj p~m;5ed o_ tV, lr}E55 -#JCJt he /;'Jc•uld av,od ffioc'lc'hon ,! /Je...
  ie~S'!lhrd an /he. ,.Jf1;1/e5 heha/1; .buf did fJof- re11'eci/ -1he. clandrsl111L
 .fi1(,!tr]1j(, -fc -!he f")5flufor. Gi31;·0 I 1/os u .5. al !Sl. 5J Ill -lr,r1/ -fl7e

  iv'1fflf.5i'i clf.n1 cd -I-he e.t1s-l-ence c1/ ctny <SIJLIJ frJm;:51;:_ 1 and -1hc
Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 24 of 28 PageID: 41



 f~o-Ser__ul-11) a.fforflej did no'. c~rreLf -l/1e fe5f1lrlony. 1h-t.
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  redJLe.d #le c/Ja!JI.S al hell; (Y)r,f<cenclr1LI:.. ancl_!1l1./fl,!/er
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   de.fuJr/o;r;f 1, 1 Cl c coyY,,.--,7'-j -!-he,/- _...Jhej --flurn..5.e lv't5 fe ..sl1hed
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   --f-/;f cls+ance., l'Je+rve.en -!he.. f1;vo lac.0,/1-0/75 tv1lh1rJ -11!.e.. f.-1;rlf. fr?1111-L
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 ~II;;_ i/1.c_/irn'.5 dec1lh C:Lplecl tv,11? +he_ hrc_f -1h(!f/!ls.4ma/7ai
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 ,/O_f7l)l!dj !A,1/76 1-eof,fe;J +ha/- ,.she 1va.s en +he. pho/JL
  rV, -f/J !iJr Lot1e... o,/ f/Je_ acfuc1/ l1t11f.., of h/s deal-h all
 -/ht0l facls rSIJou!d hoate. b(>en crJO,u_fl fc, oh/ifcrolc -iht-
 s.5-1-a le.:s      cose_ for           con3f1ra<..j ancl             f-o 0c 6.s-fnnf1cde.... --i-/J(_.
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J.'-o -I-he. jYf,j£17f Cti,.5L -H7c (Jro<..S l'!.c..u-lion
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  ss·1,f furl/-J bj -1-ht /i;ew,Jir:3e.j "Slo)e... Cor,..s-frl·,,rf1cn a/')d bl +/Jc
  ://J. SupreJJ'7z. Cc 1)r f. the_ flrt0Clvfcrs conclu(._.f- t"-''Ct-5 cledrf
 .,and unm;sfcil..8hlj 1nr1r7r,_r1 eten 1iJc.!rJOil}J -!he Ccl)rf JtJ a_ n.1..5e., -1/;iif
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  /;,we. (( J"'rj fciirlj €/'c,/,,;/e_ -1/J( mtr1f5 of /;~s de-hr1.5e__.
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 .7!7e.. pro5cc.u-i--ona/ dul-y                 11}   ct   cr,m,r?t1/ -f,rc1!       1S    170-f fo o/J/0,,17
  cu1vi1...f 1tn_s buf -lo              ,_;ee/:..Jusl1~e.. . ---rhv.s 1 1!- ;'s               00 mi1c..fJ /;15
 . or her du!-/ ';, • fo refrou(') frc/YJ ,rnprcper rne.-lhtds ca lculo, f-e.d
 _-Iv prJdJLe.. c1 1A,'rc,::3ful conv;Lhon as :f ;s -1-o u.5e_ every /e3,t,1'(1,1fe_
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  (Jc-:- ,5'vb.s-f,1n-ht,II/ orlfe.1..,f -fht Jvrj.5 .re,d1~-f,          1h1;'.S 1 --fh-l +edcr,1/                   0



  Cc ;,_5 Ii fu-l-1 OrJci J ~ v,;, !uf, en cfoe.s n c+ encl iv, fh CJ -hnd1 :3 -ffi,d- -fhL
  frJjrLufo/j           cordu·1-f lva,5             1rnpry;icr1b,,f re9u11'1:.5             an fvti/uct.f,cn c~
 -:Jh, n11-furf.     al -!he m,5c onclr;l.f                ancl -/-h-fl ,.5-/ro:3-ffJ of -I-he        ;ruJecufz;r.S
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 .C4Se.. · J1)ffJL rn,Sc.ond11c..f                         May be...       .foo clearly fY:J1,d1c1c1/ f'cr
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 •)vry -fo          <Jf(UrC ctn 1Ndn//i)f/Jf                        Qr1C1       .foJ u,s-hf;     an          arre,5-f, --/h(n
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Z) / o     iv:.Jhho/d /rcrn -Me :Jr"'nd,J ur/ ev, d enc e_ -t-h,.rt #7.e Sl~1lr s
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 -the.. ,5f,1fe:.s hr1eF you. are. o_sted +o i:>e/1i•1t -i-hcd-- tel-1 f1oner' -'s·
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.Ground 17th~
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. .'-\~;,C.J/JOr   t'1c3    t8LT)" •
  A 'c'ovrl-         can re~; er__se_                °'J·ury:S verd,~+ a.s
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-1/Je__ eV;df()C0 j! ,/- c/ear/7 anc/ c_oni/1fJL, Jj Gfr€Clr'.5 -1/Jt'if#lrrc.
                                     1


                                                     0
  /A/tl_S  Cf ,ncrrJ,,lesf- clen,a) o(j,:,0/1ce__ under -#Je /,qw L_. s-·zc /.

. _;1s (lJ;-. _j,rJJcr C1yued if) h1's pei,-1,on 1 -i-hfre_ bv'tl5. r;o con'f:,rac;
.fo CofYlrn, I- murder; ,50 -fhe_ J'ury s ,3u/ !-1-y verd,J on +his
  ChctrJe IYJU,5f- lti1 /. i/ere_ 1 keodn~/::. +e.sf1/J ed -I-he,_/- IJ<- knel-J
 1Jc-tii1~ C?houf /f;e, ,5hool1:J. er f !C1n11,y q Jhoo-1,J , a/)d -Mc,,:r
  f;e__ irJClS allo£tNd                  +o
                               pJeac/ 301/lj +o con_5t/rtkj fa comm1r
;r;ur de, /_1v1!hou f -l·IJ.t5~ ad1Y11 -:>S1ons. <Sm, l0rly , /fl //tr
 Je-3,i;he'd -fhaf he. cl1cl r!of X(}Ol'- or Love_ Luou!d be.,                   1




  -f) /It d, and ht pied 3u1/l-7 -fo co/2_5r1,t?Lj +o co1n/Yi1 f
.~1 rt7Vi1.fec/                QSSctu/f-               i   Q06       tVI    1/Joci/- Jl!UJ            CJ/)    ac/;n;j~Jc!/7,
(10 T G- ZI         --f-D   7 -/ 9 /- ; 3 · 9 f-o l ':;; /               I u r I 2 7- - 2 Z.   fr!     I Z 3 - I; I Z & - Z z
.--fu    /l 7      -/5)      !fl5D       1   -H?-e   ,)url       n-ever conv;e,fed !YJr .S,/JJ<r cl 5/JoO~)
I'
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     Lote_ .      (/Jq.   JO-JI) TnrJ.5         !Y),.   51JerJ          conv//.. /.,cn , s
                       -(he ,ve;yhr of +he evidenLe_. 7/J.f_ ft,(
 fJ{{fssqr,ly_ ~9C1,t7.5_f
 courf den1ecf 1 e!,ef, hnd,:y +h0if (r)r J1CJer nei'er0tRfed
  tvh,Lh co11v1chN15 lvere. ~0i1nLsf +he tVC(._Jhf of -!he ev.dfnL<-
. ( /)o,~ 177) f/ctvriler 1 #Jf rrr_ord 0/Jc1v !70T o!J/j +/;nf !Ylr.
                          f
   _\r:yer '-fee,, cc;llj 1denfrhecl h15 cony:1:;-t1L 'j -fo co(Y)ff), f
 /J?ur'cle1 co11v,cltc11 a.5 #J.e uoe;eLf of +h,o clc/irn, (oq 11-1~
 lPI/ f;S--{pt,), bvl q/,50 -HJ~f he ;-;rt11tcl hcN ,f was
 ,~Jct1i-L51 -1/Je tvejh+ ol fhe ev, dt11ce,

&-vund I Jfh ~
., /} e l1;YJ,,1c;r( J fa fem en f
   ~:Tame.s !YJ, lier 1n +he. 1ri.5tC/nf                  rnC.:+fer>     +oo/\ o f leo.
     cieeil for co11Sf,:-c1L'j '1-+o cornrn,f a a.:s.Sau/f ' 1

     '-Supper f     Fcn. f.3. '.
         ...J-f c1 per..Sc,n 3u1 l+j of cc1'1.Sf1rr:tt...j, a.s dct11ed ht
. -S 1J b..st!c.. fron (c1.) of -lh, s sec -1-,on, Xnows -lhCi I- o f u-Jon
. w,-1-fJ 1,-vharn +he con.5p,re.::5 -fO Cornrvi, f o err Me.. ha.s
 Cc,1..Sj>1red lt:i-lh anofher per0ofJ or per,.So!'J.S +o cornrni-f
--fbc. --Snm~ Cr//rJI!.. 1 ht. ;S 3u, /fj of con.sf1r,11_3 1;111fh
 ,'JUL/; o-fher ffr..jon_ or fEr.Scn5, tvhe../her or nof ht
. Xoo;,v5         -l-ne1r ;   derJf/f
                                        1,    lo      CDn'JIY/, f     S1/ch       Cr,IYJL .


     Jitldi hl ((()1//tr 1 --/nc1/-         1S)     fe..sfrfiec/ he d,J noT fi1Cltv
-lhe.. op; ec.. + tvou!d be_ /;.1 l/ed. 1he,e /ere__ -1/)e pra5ec.uforir?f 1

  ltjr'S(onclvcf Lva.s -fhe fifJ01v1':.J u.se cf p:9ury te.s-l-1!Y7of'Jy i
 ifJCtU1~7J -1!;2 ;J/{JQ d~a/ ,31fen vva.5 0 revJrJ,rd fr)r ta!oL
  -!tsl1111ony. Celenclanf- ·<'f/tl/anl conucle-. -1hc1f h1b conv,,)-,,r1 was
.(:'!)r,.11.sf ./h~ bVl!_Jhf ,,/ .;l;e 0,'1c/en<.A.., ,,SrJlfJ 06 i Jl~fe..i IA/1/-(}t.55 (rJff);n,.;leJ
 Peo,,.rj) {cri_y,ra<..j 1roven (JOT TC E,f/~T. /J'lorlore~ +h<. -l-11J1ll1t1<-.i+/Jl cel!-
1J11c11(, rccorcl.5 of L,'z.. fJu,,1one::, l e.!I111Jo17e._. i/rrluo.//1 ,cnf,nu oc 51/ ~/.. !t(j.:,T
                                                                                      1




 ".J'5 rn,lt.5 171t1,,·lly ,lr:m Mt ,.5Lc11e... olt/Je ciliyer/ cr11J1l-. f:7re ci,//.5 ,N
.a.II £Vere maclt, o.1/ of t~.lh1LIJ /1, I .../.h.e c.5a1J1£ cell -hJtUlr. ..I.. (delenda,1f
 orolan t /Jer.f.117) Wct,5 Q() ffb, U.Urf'l~l'Je j ( ~ / / - phN?C.. • fvrlhertnif<-1 deli//Jatil
 °'ffel/ar; f Conu:clc. +h0il ofarlry o.l l'IS!IN7, ..I. re;eatedlj ail/eel my datf;!e6
  /Ylclh1r a()d ,5f1lt {A.},fh her v/r/vidlj Conlu1tJtv.5/; unh! l'f/2Al1, -#!l /a<;/
 Ced/ rncle d oJ c1 cell -fcl\, er (; /YJ, /r5 /ro;y; -I-ht. J"{ ene_, ol f/7{' c~ II:} eel
                  Case 3:19-cv-12497-MAS Document 1-1 Filed 05/14/19 Page 28 of 28 PageID: 45



 C(;l()c   UbJ,viJc,/j' de,lend0/Jf        (01.1/d t'J~I   bl   lrl   /-!AID   flfilf5 o,} ()fJLe.., ..lf:5 cilso
 phfSICcifly i!Y1fc.5),p/f for e,/e/mc/1Jr7f -lo h11VL                   been 0i/- Tin'> [no'!Jb ,hel/;,e._ #JL
:)ho!;n,Y'j. ~ delendci11f f'ev,cuslj                 sf,,l-e.d he. leff
                                                                  1
                                                                                   -#).{   6P Gas5 J'la ./-,on   af
Il     '57 AM         w, lh l, L OvifJOYJe.5 dr/tl',-:!) , Oefendmnf                +he_ phone... ul- I :'j 3 57
                                                                                 uVO.S o/7
 A-(()./indi -fhe eel/- fo1Vet" h,f hr .fh1S call /lvi1::; Cc/l.5,.sfe11f tA1tfh a cal/
  he.i1!.J !Y}adt /rorrJ l,i. Uu,r1or1e5 ho!Jol. ,r1 fbh!~nd fttr/<., //av J;r.)cl N/Ji,1
  1S af /ea5f 3 5 !Y'),/e':7 (,Jttldj -!run fhe tJ,f/ued Cr11ne 0tfl7l.. Fcic..fly, this {f'{Juo.f
   1flforrn,,/icn 1,\/1},S di..le.rJY7117ed bf cell fl/J"11e,- e;<.fe.rf..5. The.. ev·1clenc.,e. c leurlj
   1,1d1uite ~ +ho f -1--he v,'c..l-,rn //l, a5 .shoi- in.-ftvee.n /: 0 7/ir/) and /: /'/AIYJ.
                                                  1


  (/)crf,SO, -1h15 u'1deaa...- ccm.:.S ;;tffl Ame,ndc.. Aennccl;, 1,v/Jorr; fe5f1('e'c/ /1,af s!JL.
  v\1(/,) Or! -!ht pholJl I/Vt #J -f/?l v'1Cf1!Y1 1 {)f7cl -/Ii,::; flCJc/-- sJC!l/1€.. /;v,J17t.SS ,s/a/eJ H}e_

  l'1L!1rY7 tvt75 u/J his phorll vvhet7 hl wa.s 5/Jo I. 1-JJ,~ ;s l1 v,fC!i./ pa1()f cVJcl a
3op ofj.;sf llfJder /,5 m,~. AnvJ;z',j /Jeftcl-1(f.- tJh,ff/e.s .fe5/-/f'()N1/ ,·f -1-c~lre.s           1


 oter !5 ('() ,?i le~ -/() dr1re_ frvrn -/In. 6 /J bos. J-la l-1on ro 7en..s Eno!!Jh Md
                  1



 +hen -/-o !l_i;li11Jd -fi1r/. 1 New Je0e7~ 1,1..J/Jere.. de:lendanf wa.s /occ,,le.d o.l-f/Jral'_Jh
 Liz. fJ.tJJoNeS Ce!lpho11L1 anc/ cell ;:J!Jo!le.. rec..orcls q/5{) 111dc~l-ecl dele11cl11,7f
o.1- hc1r W,L'J an -lnl fhofJl f!Je 0t1ml e'JaLf -h!Y)l, 7/Je. vlt..l,rn Wtt.5 .on f-he.. fhfll-
  e. 1 .so ,( Jel~fJda,7f tJa.s o..f ./-he col'fJl J'Cene.. 1 +ht1~ 1.e..ll folver f.Alc,:/c/ sAI),.;
 cc1!/ he.1?3 rnad;_ -from bofh pheae5 f1:!31j cf/ .fh{, ,same...· 1.e.ll- l-owe.,.l//5s
-fhi £P Gas ,j/rl1f1cr; 15 & m,/es lrorn -!he. crt1ne. 0cene,1 and lt'z.. Qu,/Jont::,
 /;ouJf...- 11) J/jJ!Jland_ /i1r X1 !iiuv .Jer..5clJ 1:S at7offiU: 3. 5 (()1 le ,s korrJ :.;-he_ sane..
  of -1-h.e. Crimi...• T/J0 f's o.l, 1//e, over 9 ln1/e5 al+;3e.-ther: /Je.lel7c/anf 1/1/45 0 ee/7
  en V;deo /en1i,:_J /he. 6/J Go,s J·/6'Jf1on al 1z;59, D,le,nclanf~°'f'r'l//ri17/
  c.oold (JIJI hcJ(l dr;len/drtJyl- -It; -1/;e., c..,1!111:.. ,scer1e... at1cl ctl~ejedlj ,shuf
  f()r, Le/If.. , -h1Ct7 ,Joi- fo ~h lane! Par A1 1lu,t/. Jtroc;: o. I ;;3 ,: :S 7 a,.-,d           i
 rn0,de.... -/hi1!- cc1 l/ 6ecctvJe 1f -fci}es over !!J rYJ1nufe..s ,Ju.sf fo dr1rL
                              1

  fron1 -H7t c,P Gas S-fritt1on -/() -1-he_ Ct!ff}l <SC..(,fll. .ilnhrfuflaf-€ly ~f defea!Mt
-1-r, Ci I, -!ht f' u.Selulvr· did h,.s bes! rD c.,i-/ur :':Jntre.. and/or d10 for f +/;, ~
  Lu!Yftl~,?3 i;!.Cui;Jnlo,1 ev1dencr....iJesr1le, hviv'I~ a.II of /he.st ce..llf/JtJ(le.s .
 ,ec.ords anc/ v,deo l-iyxs ,n ,Is po.s.scs..5,on,fl1rsuanf fo ,Is 117v'esJ::yo.hc5
 -1hl j.J,ilr:.. c/;d naf 1nfrodc1Le... af7y al )h1'.s ev1denu:.,. dur1~ ,f5 ca5e_.
1/'J    ch1e f                                                                                              ..
         .I..rJ       (Ol)c/uJ,OfJ,   delenda,rf-oppe)/0,n I- subtn,'f                 -fho.f   -!he.. ftO..Secu for
() eVe.f pre.::ico fe.d r10 +es!1/YJOriy -fo c.onfrc1 die.' f +h L +e~+1 lf}v()j () f'
defe115G e;perf.5 a/Jd w:latsses vvhorn corrDborc1fed -lh< c1i:.c.or.1Lj
ancl relt Cib, /,+; of ./-ht re Lords. ;r..~lea~ /I rel,ed on spec I Ot/S
auurnefJfj and U(}!tf.e ly 0Len0ir10S //) ,Is ~[jfl)(YJ0,.l·1on 1/\/,fhouf ctf1j
ev,denf ic1rj -s..,'fforf.
